Case 2:20-cv-02892-SHL-tmp   Document 129-6   Filed 10/19/21   Page 1 of 3
                              PageID 2448




     EXHIBIT 4
CaseCase
     2:20-cv-02892-SHL-tmp
         4:07-cv-05944-JST Document
                            Document1738
                                     129-6Filed
                                              Filed
                                                06/17/13
                                                    10/19/21
                                                           PagePage
                                                                1 of 22 of 3
                             PageID 2449
CaseCase
     2:20-cv-02892-SHL-tmp
         4:07-cv-05944-JST Document
                            Document1738
                                     129-6Filed
                                              Filed
                                                06/17/13
                                                    10/19/21
                                                           PagePage
                                                                2 of 23 of 3
                             PageID 2450
